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           EXHIBIT 1
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June 12, 2020

Dear President Katsouleas,
Athletic Director Benedict,
Members of Athletic Department,
Chairman Toscano, and
Members of the Board of Trustees,

As representatives of the student-athlete body, we are writing to you regarding the recent articles
noting the need for UConn to cut athletic programs.

The University’s commitment to athletics has cultivated a community of individuals who care
deeply for one another. When one member of any team struggles, we all do. Therefore, we find it
essential to share our stories when our teams are at risk of elimination.

We are aware of impending budget cuts within the Athletic Department, and that the added strain
caused by the COVID-19 pandemic could result in the elimination of teams. Cutting varsity
athletic programs is a temporary solution that will not solve UConn Athletics’ long-term goal of
financial self-sufficiency. We believe that we can come together to ensure the continued success
of all our athletic programs. This moment presents an opportunity for discussion, to set goals,
and to reevaluate the spending structure in order to improve the longevity and success of all 24
varsity programs. We must show a unified front now more than ever before.

This is bigger than sports. Competing in college athletics teaches unique and important life
lessons that contribute to our success on and off the field, and foster values that will stay with us
well after we leave UConn. As board member and former UConn women’s basketball player,
Rebecca Lobo, stated:

        “Sports are so important for young people … you learn how to push beyond
        the limits you have set for yourself, whether they’re mental or physical. You
        learn how to work with a group of people, even if you might not necessarily
        always like them. It just helps you to be better at everything that you’re going
        to do later on in your life … I don’t know if there’s a situation outside of
        sports where you can push yourself that way.”1




1
         Binghamton University Collegiate Women's Luncheon with Rebecca Lobo,
https://www.youtube.com/watch?v=rlbeuOY5Yuc​ (at 3:27).
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Many of our 24 varsity sports do not produce revenue for the University, however, each
generates tremendous value that goes beyond ticket sales. First, student-athletes contribute to the
diversity of the University. UConn Athletics attracts the best and brightest student-athletes
representing 19 countries, 35 states, and Puerto Rico.2 Our 24 varsity athletic programs,
especially non-revenue sports, encourage student-athletes from all backgrounds to attend the
University, many of whom are not on full-schol​arship. Second, student-athletes contribute to the
academic excellence of the University. In​ 2019, 449 student-athletes, or 64% of all
student-athletes, earned a GPA of 3.0 or higher, including 53 student-athletes who achieved a 4.0
in one of those semesters.3 Finally, athletes on all 24 varsity teams give back to the community
by dedicating countless hours of community service through initiatives put forth by the
Student-Athlete Advisory Committee (SAAC).

We empathize with the board and the Athletic Department as they make hard decisions that will
have a lasting impact on our community. As student-athletes and members of the broader UConn
community, we want to see our University succeed and flourish. We are committed to upholding
the University’s core values and long-term goals as a part of the Athletic Department. We are
willing to make sacrifices to preserve all of our 24 varsity athletic teams, including working with
you to find ways to help reduce operating costs.

As student-athletes, we sincerely believe that removing ​any​ of our teams would be a disservice to
the University. Being a UConn student-athlete, and representing our University through sports is
an incredible honor. We are asking that all 24 teams be allowed to continue to do what we love -
at the varsity level - so we can continue to dream big and develop into the leaders that this world
needs, as UConn Huskies.

Thank you for your time. Go Huskies!

Katherine Fletcher, Women’s Rowing                     Magdalene Mlynek, Women’s Rowing

    Katherine Fletcher (Jun 12, 2020 16:37 EDT)            Magdalene Mlynek (Jun 12, 2020 16:49 EDT)


Samatha McKenna, Women’s Lacrosse                      Jordan Crinieri, Women’s Rowing

    Samantha McKenna (Jun 12, 2020 17:11 EDT)          Jordan Crinieri (Jun 12, 2020 16:43 EDT)


Katherine Daley, Women’s Track and Field
     Katherine Daley (Jun 12, 2020 17:16 EDT)


2
              Based off of 2019-2020 Athletic Roster

3
          Student-Athletes Honored on 3.0 Night
https://uconnhuskies.com/news/2020/1/30/student-athlete-success-program-student-athletes-honored-on-3-0-night.as
px
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 Men’s Baseball
 Christopher Brown

Chris Brown (Jun 11, 2020 16:39 EDT)




 Garrett Coe
Garrett Coe
Garrett Coe (Jun 10, 2020 22:11 EDT)




 Reginald Crawford
Reginald Crawford
Reginald Crawford (Jun 12, 2020 10:04 EDT)



 Zachary Donahue


Zach Donahue (Jun 11, 2020 10:46 EDT)




 Kevin Ferrer

Kevin Ferrer (Jun 10, 2020 21:38 EDT)




 Kenneth Haus
  Kenneth Haus
  Kenneth Haus (Jun 11, 2020 10:29 PDT)



 Ryan Hyde

   Ryan Hyde (Jun 10, 2020 21:36




 David Langer
David Langer (Jun 10, 2020 19:28 PDT)




 Todd Petersen


 Todd Petersen (Jun 11, 2020 19:29 EDT)
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Christopher Winkel

Chris Winkel (Jun 10, 2020 21:32 EDT)



Patrick Winkel

Patrick Winkel (Jun 10, 2020 21:38 EDT)



Caleb Wurster

Caleb Wurster (Jun 11, 2020 10:36 EDT)
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  Men’s Basketball
  Brendan Adams


Brendan Adams (Jun 10, 2020 20:00 EDT)




  James Bouknight



James Bouknight (Jun 12, 2020 00:38



  Joshua Carlton

  Joshua Carlton (Jun 11, 2020 19:44 EDT)



  Robert Cole
  Robert Cole
  Robert Cole (Jun 11, 2020 19:42 EDT)



  Jalen Gaffney

  Jalen Gaffney (Jun 10, 2020 18:44



  Matthew Garry

   Matthew Garry (Jun 11, 2020 19:39




  Richie Springs

   Richie Springs
   Richie Springs (Jun 12, 2020 00:44 EDT)



  Shaquan Whaley

    Isaiah Whaley
    Isaiah Whaley (Jun 11, 2020 19:50 EDT)
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Women’s Field Hockey

Victoria Albright
Tori Albright (Jun 10, 2020 22:46 EDT)



Natalie Brown


  Natalie Brown (Jun 10, 2020 16:25 EDT)



Anna Casinghino

Anna Casinghino (Jun 11, 2020 15:16




Jessica Dembrowski

 Jessica Dembrowski
 Jessica Dembrowski (Jun 11, 2020 07:28 EDT)




Sophie Hamilton

Sophie Hamilton (Jun 10, 2020 21:47




Claire Jandewerth

 C.Jandewerth
 C.Jandewerth (Jun 11, 2020 22:01 GMT+2)



Kourtney Kennedy

 Kourtney Kennedy (Jun 10, 2020 16:22




Jerri Lankford
Jerri Lankford (Jun 12, 2020 09:50 EDT)



Chiara Ma
 Chiara Ma (Jun 12, 2020 07:21 GMT+8)




Abril Martinez-Arraya


Abril Martinez-Arraya (Jun 10, 2020 17:41 EDT)



Frances Mirabile

Frances Mirabile
Frances Mirabile (Jun 10, 2020 16:37 EDT)
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 Mckenna Sergi

 McKenna Sergi
 McKenna Sergi (Jun 11, 2020 08:31 EDT)



 Alena Smargiassi

Alena Smargiassi
Alena Smargiassi (Jun 10, 2020 17:02 EDT)




 Cheyenne Sprecher

Cheyenne Sprecher
Cheyenne Sprecher (Jun 10, 2020 16:23 EDT)
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 Football

 Rayonte Brown
Rayonte Brown
Rayonte Brown (Jun 11, 2020 10:53 EDT)



 Timothy Gardner
  TJ Gardner-Russaw
  TJ Gardner-Russaw (Jun 11, 2020 00:25 EDT)



 Jahkai Gill
  Jahkai Gill
  Jahkai Gill (Jun 11, 2020 20:58 EDT)




 Cameron Hairston

  Cameron Hairston
  Cameron Hairston (Jun 11, 2020 11:37 EDT)


 Diamond Harrell

  Diamond Don Harrell
  Diamond Don Harrell (Jun 10, 2020 18:13 EDT)


  Clayton Harris


Clayton Harris (Jun 11, 2020 17:19 EDT)



 Christian Haynes

  Christian Haynes
  Christian Haynes (Jun 11, 2020 11:00 EDT)



 Noah Iden
   noah iden
   noah iden (Jun 12, 2020 10:31 EDT)



 Jaylen Jones

 Jaylen Jones (Jun 11, 2020 16:30




 Kevon Jones
Kevon jones
Kevon jones (Jun 11, 2020 10:40 EDT)




 Winston Jules

  WinstonJules
  WinstonJules (Jun 11, 2020 09:19 EDT)
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 Juan Rosario
 Juan Rosario
 Juan Rosario (Jun 11, 2020 19:41 EDT)




 Ian Swenson

 Ian Swenson (Jun 10, 2020 21:17 CDT)



 Nilay Upadhyayula


Nilay upadhyayula (Jun 12, 2020 07:15 PDT)



 Ryan Van Demark

 Ryan Van Demark (Jun 11, 2020 21:58



 Eric Watts

 Eric Watts
 Eric Watts (Jun 11, 2020 14:40 EDT)




 Dominico Moncion

Dominico Moncion (Jun 10, 2020 20:04 EDT)




 Deundray Morgan
Deundray Morning (Jun 11, 2020 10:39 EDT)




 Jordan Morrison
 Jordan Morrison (Jun 11, 2020 01:59 EDT)




 Abiola Olaniyan

 Abiola Olaniyan (Jun 11, 2020 17:13 EDT)



 Jonathan Pace
 Jonathan Pace
 Jonathan Pace (Jun 10, 2020 21:12 EDT)



 Keyshawn Paul
 Keyshawn Paul
 Keyshawn Paul (Jun 10, 2020 18:24 EDT)
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   Men’s Golf

   John Boulger
  Jack Boulger (Jun 11, 2020 13:54 EDT)



   Daniel Boynton
Daniel Boynton (Jun 11, 2020 15:05 EDT)




   Logan Broyles

Logan Broyles (Jun 11, 2020 15:04




   Justin Clark


  Justin Clark (Jun 11, 2020 15:30 EDT)


   Nicholas Hampoian

  Nick Hampoian (Jun 11, 2020 12:08 EDT)



   Chandler Morris
   Chandler Morris
   Chandler Morris (Jun 10, 2020 23:31 EDT)



   Jared Nelson

  Jared Nelson (Jun 10, 2020 20:23

   Rodrigo Sanchez


    Rodrigo J. Sanchez (Jun 10, 2020 17:36 EDT)



   Timothy Umphrey

  Tim Umphrey (Jun 11, 2020 15:06 EDT)
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Women’s Lacrosse

Olivia Miles
Olivia Miles
Olivia Miles (Jun 11, 2020 15:05 EDT)



Stephanie Palmucci

 Stephanie palmucci (Jun 12, 2020 10:12




Sydney Watson

sydney watson
sydney watson (Jun 11, 2020 21:33 EDT)



Anne Carroll
 Anne Carroll (Jun 10, 2020 17:06




Katherine Parker



Abigail Vetsch
 Abigail Vetsch
 Abigail Vetsch (Jun 10, 2020 18:36 EDT)



Jacqueline Manno
  Jacqueline Manno
  Jacqueline Manno (Jun 10, 2020 19:45 EDT)




Casey O’Grady

 Casey O'Grady (Jun 11, 2020 15:22




Alison Durkin


Ali Durkin (Jun 12, 2020 10:14 EDT)
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   Taylor Scully

Taylor Scully (Jun 11, 2020 15:06 EDT)




   Lia Laprise

 lia laprise (Jun 11, 2020 19:21 EDT)



   Julia Ozimek

 Julia Ozimek (Jun 10, 2020 20:54 EDT)




   Gillian Haverty

 Gillian Haverty
 Gillian Haverty (Jun 11, 2020 10:45 EDT)



   Landyn White

 Landyn White (Jun 10, 2020 16:10




   Madelyn George
    Madelyn George
    Madelyn George (Jun 10, 2020 20:58 EDT)



   Kyra Place
    Kyra Place
    Kyra Place (Jun 11, 2020 17:42 EDT)



   Grace Goetz

   Grace Goetz (Jun 11, 2020 19:28




   Amanda McMahon

      Amanda McMahon
      Amanda McMahon (Jun 10, 2020 22:42 EDT)




   Nancy Harrington

      Nancy Harrington (Jun 10, 2020 17:51 EDT)
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 Alyssa Conklin

 Alyssa conklin (Jun 11, 2020 15:57




Emily Schillinger (Jun 11, 2020 10:43

Emily Schillinger

Kate Shaffer

Kate Shaffer (Jun 11, 2020 19:46




 Grace Beshlian

Grace Beshlian
Grace Beshlian (Jun 11, 2020 15:20 EDT)
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Women’s Rowing

Abigail Capone

 Abigail Capone
 Abigail Capone (Jun 11, 2020 12:17 EDT)



Alena Criss

 Alena Criss (Jun 11, 2020 10:38 EDT)



Allison Murphy

 Allison Murphy (Jun 10, 2020 18:52




Caroline Raffin


  Caroline Raffin (Jun 10, 2020 23:36 EDT)



Chloe Ludden

Chloe Ludden (Jun 10, 2020 16:55



Claire Callaghan


  Claire Callaghan (Jun 10, 2020 17:11 EDT)



Emilie Karovic

  Emilie Karovic (Jun 10, 2020 18:16 EDT)


Erica Bushey

   Erica Bushey (Jun 10, 2020 16:14 EDT)



Erica Franklin

 Erica Franklin (Jun 11, 2020 11:46




Erin Mordaunt
   Erin Mordaunt (Jun 10, 2020 19:49 EDT)




Gabrielle Caron

 Gabrielle Caron
 Gabrielle Caron (Jun 10, 2020 21:43 EDT)
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 Grace Baldauf

 Grace Baldauf (Jun 10, 2020 23:02




 Grace O’Connor

    Grace O'Connor (Jun 10, 2020 15:46 EDT)



 Isabella Huban

Isabella Huban (Jun 11, 2020 13:28




 Janet Wang


Janet Wang (Jun 10, 2020 22:25



 Madeleine Siegel

Madeleine Siegel (Jun 10, 2020 15:49




 Mari Sachs
     mari sachs
     mari sachs (Jun 10, 2020 17:05 EDT)



 Natalie Becker
      Natalie Becker (Jun 10, 2020 22:20 EDT)




 Sarah Ingram

      sarah ingram
      sarah ingram (Jun 11, 2020 10:02 EDT)



 Sophia Shea

     Sophia Shea
     Sophia Shea (Jun 10, 2020 19:14 EDT)



 Stephanie Rodrigue

   Stephanie Rodrigue (Jun 10, 2020 16:38




 Aliyah Louis

   Aliyah Louis (Jun 11, 2020 09:52 EDT)


 Ashley Lamb
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Ashley Lamb
Ashley Lamb (Jun 10, 2020 17:00 EDT)



Ella Garcia

Ella Garcia (Jun 10, 2020 19:38 EDT)




Emily Torre

Emily Torre (Jun 10, 2020 17:59 EDT)




Emma Lucas

 Emma Lucas
 Emma Lucas (Jun 10, 2020 22:03 EDT)



Gayane Gevorkyan

 Gayane Gevorkyan
 Gayane Gevorkyan (Jun 10, 2020 22:45 EDT)



Grace Johnson

  Grace Johnson (Jun 10, 2020 16:01 EDT)



Anne Nanai

   Anne Jordan Nanai
   Anne Jordan Nanai (Jun 11, 2020 10:58 EDT)



Maia Moscova


   Maia moscova (Jun 11, 2020 10:24 EDT)



Sarah Lazor

  Sarah Lazor
  Sarah Lazor (Jun 10, 2020 15:48 EDT)
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 Women’s Soccer

 Lucy Cappadona

 lucy cappadona (Jun 11, 2020 12:01 EDT)




 Melina Couzis
Melina Couzis
Melina Couzis (Jun 11, 2020 11:36 EDT)



 Sophia Danyko-Kulchycky

 Sophia Danyko-Kulchycky
 Sophia Danyko-Kulchycky (Jun 10, 2020 18:08 EDT)


 Giavanna Delorenzo

 Giavanna DeLorenzo
 Giavanna DeLorenzo (Jun 12, 2020 10:07 EDT)



 Kess Elmore

 Kess Elmore (Jun 11, 2020 14:09




 Yamilee Eveillard
Yamilee Eveillard
Yamilee Eveillard (Jun 10, 2020 19:01 EDT)




 Cara Jordan
Cara Jordan
Cara Jordan (Jun 11, 2020 16:08 EDT)



 Eman Karimi
Eman Karimi
Eman Karimi (Jun 10, 2020 20:00 EDT)



 Kelsey Kohler

 Kelsey Kohler
 Kelsey Kohler (Jun 10, 2020 20:48 EDT)


 Kara Long

 Kara Long
 Kara Long (Jun 11, 2020 11:13 CDT)
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   Isabelle Lynch

  Isabelle Lynch (Jun 10, 2020 22:44




   Jessica Mazo


Jessica Mazo (Jun 10, 2020 21:23




Julia Petrillo
  Julia Petrillo
  Julia Petrillo (Jun 11, 2020 13:50 EDT)



   Vasiliky Rizos
   Vasiliky Rizos (Jun 12, 2020 10:08




   Erin Spillane

  Erin Spillane (Jun 11, 2020 19:19 EDT)



   Zoe Steck
  Zoë Steck
  Zoë Steck (Jun 10, 2020 23:27 EDT)



   Emma Zaccagnini

 Emma Zaccagnini (Jun 11, 2020 16:38
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 Women’s Softball

 Briana Marcelino

Briana Marcelino (Jun 10, 2020 22:31 EDT)




 Hollis Wivell
 Hollis Wivell
 Hollis Wivell (Jun 10, 2020 18:48 EDT)



 Marybeth Olson


 Marybeth Olson (Jun 10, 2020 19:16 CDT)



 Samantha Barnett

   Sami barnett (Jun 10, 2020 21:51 CDT)



 Reese Guevarra

  Reese Guevarra (Jun 10, 2020 19:26




 Aziah James

Aziah James (Jun 11, 2020 12:04




 Emily Piergustavo

  Emily Piergustavo (Jun 11, 2020 10:40




 Morgan Ash

 Morgan Ash (Jun 10, 2020 19:46




 Ashley Esty
 Ashley Esty (Jun 10, 2020 16:02




 Olivia Sappington

Olivia Sappington
Olivia Sappington (Jun 10, 2020 18:58 EDT)
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  Devon Cassaza

Devon Casazza (Jun 11, 2020 22:23 PDT)



  Mackenzie Fitzpatrick

   Mackenzie Fitzpatrick (Jun 10, 2020 16:27




  Cali Jolley


   Cali Jolley (Jun 11, 2020 15:22 EDT)




  Meghan O’Neil


  Meghan O'Neil (Jun 11, 2020 10:39 EDT)



  Carli Cutler

 Carli Cutler (Jun 10, 2020 16:20 PDT)
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  Men’s Swimming and Diving

  Cian Beaulieu

Cian Beaulieu (Jun 10, 2020 20:52 EDT)



  Josh Bryant
  Joshua Bryant
 Joshua Bryant (Jun 11, 2020 21:15 EDT)



  Alexander Chernysh
Alexander Chernysh (Jun 10, 2020 17:53




  Justin Corres
   Justin Corres (Jun 11, 2020 19:59




  Jack Gray
     Jack Gray
   Jack Gray (Jun 10, 2020 19:44 EDT)



  Alfred Hansen

 Alfred North Hansen (Jun 11, 2020 16:13

  Joseph Homan

      Joseph Homan (Jun 10, 2020 20:49 EDT)



  Emils Jurcik

       Emils Gustav Jurcik
       Emils Gustav Jurcik (Jun 11, 2020 19:21 EDT)


  Rowan King

Rowan King (Jun 11, 2020 18:25

  Gavin Moak

 Gavin Moak (Jun 11, 2020 15:37 CDT)



  William Mudlaff
William Mudlaff (Jun 10, 2020 17:28 EDT)




  Jack Muratori


  Jack Muratori (Jun 11, 2020 20:57 EDT)
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 Thomas Schurer


Tommy Schurer (Jun 11, 2020 20:55

 Torrington Wagner
Torry wagner
Torry wagner (Jun 10, 2020 19:47 EDT)




 Orry Zayit
  Orry Zayit
Orry Zayit (Jun 10, 2020 17:11 EDT)
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  Women’s Swimming and Diving

  Grace Ali

  Grace Ali (Jun 10, 2020 17:13 EDT)


  Linnea Anderson

Linnea Anderson (Jun 11, 2020 10:54




  Alyssa Annenberg
  Alyssa Annenberg
  Alyssa Annenberg (Jun 10, 2020 20:59 EDT)



  Georgia Apostolu
   Georgia Apostolu
   Georgia Apostolu (Jun 10, 2020 17:17 EDT)



  Emma Corby

    Emma Corby (Jun 11, 2020 06:09




  Elizabeth Drab
      Elizabeth C. Drab
      Elizabeth C. Drab (Jun 10, 2020 21:42 CDT)



  Ryan Dulaney


   Ryan Dulaney (Jun 10, 2020 20:42

  Catherine Fazio

   Catherine Fazio (Jun 10, 2020 19:17 EDT)



  Molly Franklin
  Molly Franklin
  Molly Franklin (Jun 10, 2020 17:58 EDT)



  Mia Galat
   Mia Galat
   Mia Galat (Jun 11, 2020 17:13 EDT)




  Katie Lightle

  Katie Lightle
  Katie Lightle (Jun 10, 2020
  17:06 EDT)



  Gabrielle Lowe
Gabrielle Low (Jun 11, 2020 18:26
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Audra McSharry

Audra McSharry
Audra McSharry (Jun 10, 2020 17:05
              EDT)


Anna Mecca
 Anna Mecca
Anna Mecca (Jun 11, 2020 08:38 EDT)



Stefanie Mendizabal
 Stefanie Mendizabal
 Stefanie Mendizabal (Jun 10, 2020 17:56 EDT)



Jennie Novak

 Jennie Novak
 Jennie Novak (Jun 11, 2020 06:45 EDT)


Charlotte Proceller
  Charlotte Proceller
  Charlotte Proceller (Jun 11, 2020 16:22 EDT)



Lena Redisch

  Lena Redisch (Jun 10, 2020 18:20 EDT)



Caitlin Spencer

 Caitlin Spencer (Jun 10, 2020 18:30 EDT)



Katelyn Walsh

 Katelyn Walsh (Jun 10, 2020 17:02 EDT)



Anna Wenman

  Anna Wenman
  Anna Wenman (Jun 11, 2020 21:42 EDT)
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Men’s Tennis

Christian Provenzano

 Christian Provenzano (Jun 10, 2020 20:40 EDT)



John Holtmann

John Michael Holtmann
John Michael Holtmann (Jun 11, 2020 11:45 EDT)



Rami Scheetz

 Rami Scheetz
 Rami Scheetz (Jun 12, 2020 01:12 CDT)



Luke Riemann

Luke Riemann (Jun 10, 2020 17:27




Nicholas Gore

 Nicholas Gore (Jun 10, 2020 19:46 CDT)



Tianyang Yu

Yu (Jun 11, 2020 12:48
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Women’s Tennis

Julieanne Bou
Julieanne Bou
Julieanne Bou (Jun 10, 2020 18:39 EDT)



Luciana Rabines
  Luciana Rabines
  Luciana Rabines (Jun 11, 2020 15:11 CDT)



Elizabeth Kozyi

Elizabeth Kozyi
Elizabeth Kozyi (Jun 11, 2020 10:59 EDT)


Caroline Cook
  Caroline Cook
  Caroline Cook (Jun 10, 2020 20:51 EDT)



Denise Lai

  Denise Lai (Jun 11, 2020 00:14 EDT)




Kyra Foster

   Kyra Foster
   Kyra Foster (Jun 11, 2020 00:58 EDT)
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 Men’s Track and Field

 Joshua Bedard

    Joshua Bedard
    Joshua Bedard (Jun 10, 2020 20:46 EDT)



 Kyle Brackman
      Kyle Brackman (Jun 12, 2020 00:15 EDT)




 Matthew Brady

      Matthew Brady
      Matthew Brady (Jun 10, 2020 17:30 EDT)



 William Brisman

      William Brisman
      William Brisman (Jun 10, 2020 17:50 EDT)



 Jeremy Bronstein

       Jeremy Bronstein
       Jeremy Bronstein (Jun 10, 2020 16:14 EDT)



 Brian Camillieri

       Brian J Camillieri
       Brian J Camillieri (Jun 11, 2020 21:55 EDT)




 Kevin Cawley
Kevin Cawley (Jun 10, 2020 21:38




 Kabir Chavan

    Anand Chavan (Jun 10, 2020 17:57 EDT)



 Daniel Claxton

    Daniel Claxton
    Daniel Claxton (Jun 10, 2020 18:52 EDT)



 Marc Deluca

   Marc DeLuca (Jun 10, 2020 18:24 EDT)
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 Omar Gebril

Omar Gebril (Jun 10, 2020 16:42




 Tyler Gleen

Tyler Gleen (Jun 11, 2020 21:49




 Benjamin Grosse


      Ben Grosse (Jun 11, 2020 10:48 EDT)



 James Maniscalco

      James Maniscalco
      James Maniscalco (Jun 10, 2020 17:37 EDT)



 Tanner Jameson

       Tanner Jameson (Jun 10, 2020 18:15 EDT)



 Christopher Keegan



      Christopher Keegan (Jun 10, 2020 19:02 EDT)



 Kevin Cetin

      Kevin J. Cetin
      Kevin J. Cetin (Jun 10, 2020 22:33 EDT)



 Markus Bagley


      Markus Bagley (Jun 11, 2020 10:09 EDT)




 Devon Mcshane

    Devon McShane (Jun 10, 2020 17:32 EDT)




 Nicholas Pronovost


     Nicholas Pronovost (Jun 10, 2020 18:28 EDT)
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Joseph O’Brien
  Joseph O'Brien
  Joseph O'Brien (Jun 10, 2020 18:08 EDT)



Sean Parker

  Sean Parker
  Sean Parker (Jun 10, 2020 17:34 EDT)



Jacob Russo

   Jacob Russo (Jun 11, 2020 11:35




Xavier Smith

 Xavier smith (Jun 11, 2020 10:50 EDT)



Travis Snyder

  Travis Snyder (Jun 10, 2020 18:20



Todd Stueber
 Todd Stueber (Jun 10, 2020 16:39 EDT)




Stephen Sutton

Stephen Sutton
Stephen Sutton (Jun 10, 2020 18:31 EDT)



Cameron Thompson

  Cameron Thompson
  Cameron Thompson (Jun 11, 2020 21:44 EDT)



Jordan Torney

  Jordan Torney
  Jordan Torney (Jun 11, 2020 21:48 EDT)




 Tyler Hrbek

 Tyler Hrbek (Jun 10, 2020 19:54 EDT)




Eric Van Der Els

 Eric vanderels
 Eric vanderels (Jun 10, 2020 17:18 EDT)
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  Joseph Venables

  Joseph Venables (Jun 10, 2020 22:28

  Angel Vicioso

   Angel J. Vicioso
   Angel J. Vicioso (Jun 11, 2020 11:08 EDT)


  Aaron Hackett


    Aaron Hackett (Jun 12, 2020 10:39 EDT)



  Adam Khriss

  Adam Khriss (Jun 11, 2020 15:44




  Wellington Ventura

    Wellington Ventura (Jun 11, 2020 17:17




  Samuel Agyei


    Samuel N Agyei (Jun 11, 2020 12:03 EDT)




  David Ajama

    David Ajama (Jun 11, 2020 22:14 EDT)



    Travis Snyder
    Travis Snyder (Jun 11, 2020 14:25 EDT)




  Malique Stevens

     Malique Stevens
     Malique Stevens (Jun 11, 2020 14:06 EDT)




  Colin Winkler


     Colin Winkler (Jun 11, 2020 16:37 EDT)


 Christopher Lepore

Christopher Lepore (Jun 10, 2020 17:02
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    Women’s Track and Field

    Alexandra Alsup

   Allie Alsup (Jun 10, 2020 16:35 EDT)




    Akayla Leak

     Akayla Leak (Jun 11, 2020 10:43




    Randi Burr

 Randi Burr (Jun 11, 2020 18:42 EDT)




    Caroline Webb



     Caroline Webb (Jun 11, 2020 21:18 EDT)



    Celia Chacko
    Celia Chacko (Jun 10, 2020 22:01 EDT)




    Chanell Botsis


   Chanell Botsis (Jun 11, 2020 09:15 PDT)



    Shanelle Colmon
   Shanelle Colmon
   Shanelle Colmon (Jun 10, 2020 16:42 EDT)



    Elise O’Leary

    Elise O'Leary (Jun 11, 2020 10:45




    Emma Chee

Emma Chee (Jun 10, 2020 13:34 PDT)
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   Emma Krebs

    Emma Krebs (Jun 11, 2020 11:29 EDT)




   Jamie Kobus

   Jamie Kobus (Jun 10, 2020 16:36




   Jasmyne Joseph

   Jasmyne Joseph (Jun 12, 2020 10:36




   Jaime Jax

   Jaime Jax (Jun 10, 2020 16:46 EDT)




   Mia Nahom

 Mia Nahom (Jun 11, 2020 21:18 EDT)


Kristina Cherrington

Kristina Cherrington
Kristina Cherrington (Jun 12, 2020 10:46 EDT)




Sarah Leatherwood
Sarah Leatherwood
Sarah Leatherwood (Jun 10, 2020 17:16 EDT)



Mikyla Rodgers
 Mikyla Rodgers
 Mikyla Rodgers (Jun 11, 2020 16:05 EDT)



Morocca Wiley

Morocca Wiley
Morocca Wiley (Jun 10, 2020 18:47 EDT)




Patricia Mroczkowski

  Patricia Mroczkowski
  Patricia Mroczkowski (Jun 11, 2020 13:44 EDT)
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     Ericka Randazzo

     Ericka Randazzo
     Ericka Randazzo (Jun 11, 2020 11:22 EDT)



   Katelynn Romanchick

     Katelynn Romanchick (Jun 11, 2020 05:21




   Shauntae Nelson

      Shauntae N
      Shauntae N (Jun 11, 2020 00:27 EDT)



   Jackie Simington

       Jacquelyn Simington
       Jacquelyn Simington (Jun 11, 2020 16:12 EDT)



   Solange Wright
     Solange Wright
     Solange Wright (Jun 11, 2020 19:17 EDT)




   Susie Okoli


     Susie Okoli (Jun 11, 2020 10:12 EDT)



   Taylor Woods

    Taylor Woods (Jun 11, 2020 11:02




   Thalia Ghalam


Thalia Ghalam (Jun 10, 2020 17:11



    Torre Inzar
    Torre Inzar (Jun 10, 2020 20:34 EDT)




    Rachel Vick

    Rachel Vick (Jun 10, 2020 22:08 EDT)
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  Women’s Volleyball

  Aset Baker-Falealili

Aset Baker Falealili (Jun 11, 2020 08:38 PDT)




  Jasmine Davis

Jasmine Davis (Jun 11, 2020 10:27 PDT)




  Courtney Morris
 Courtney Morris
 Courtney Morris (Jun 11, 2020 10:43 EDT)



  Caylee Parker
     Caylee Parker (Jun 11, 2020 15:39




  Isabelle Peterson
Isabelle Peterson
Isabelle Peterson (Jun 10, 2020 14:01 PDT)




  Klaudia Sowizral
 Klaudia Sowizral (Jun 11, 2020 11:07




  Madison Whitmore

 Madi Whitmire
 Madi Whitmire (Jun 10, 2020 15:57 CDT)
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Thank you for taking the time to read our letter. This document contains individual letters from
student-athletes including:

Hollis Wivell, Women’s Softball ‘21
Catherine Crawley, UConn Women’s Ice Hockey ‘20
Christian Provenzano, Men’s Tennis ‘22
Finn Boynton, Men’s Golf ‘21
Alyssa Annenberg, Women’s Swimming and Diving ‘21
William Mudlaff, Men’s Swimming and Diving ‘21
Vivienne Tucker, Women’s Field Hockey ‘21
Kiera Dalmass, Women’s Lacrosse ‘19
Abiola Olaniyan, Men’s Football ‘21
Vasiliky Rizos, Women’s Soccer ‘21
Ben Grosse, Men’s Track and Field ‘21
Eric van der Els, Men’s Cross Country and Track and Field ‘21
Maggie Mlynek, Women’s Rowing ‘20
Isabelle Peterson, Women’s Volleyball ‘21
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Catherine Crawley, UConn Women’s Ice Hockey ‘20
Life or death. Imagine you are provided this choice, and only decide to choose life because of a
sport you have invested your entire life in. That was me. I stand before you today as a University
of Connecticut (UConn) 2020 graduate because of UConn women’s ice hockey. Not only has
UConn hockey served as a tool for me to carve a path for my professional career in nursing or a
link to career development opportunities, but it has served as a lifeline when I needed one the
most. When I look back on my time at UConn, any time I talk about the past four years, in some
way or another the conversation centers around athletics. Whether that is the big wins,
volunteering events, life lessons, or most importantly, the people. Family, commitment, respect,
work ethic. Those are our four pillars as a team. My team for me was exactly that, family. Family
means being surrounded by those who support, love and accept you regardless of your flaws. My
teammates and coaches gave me purpose, instilled confidence in me and while on rock bottom,
were undoubtedly one of the only things in my life that made me genuinely happy. I will forever
be indebted to the program and could never say thank you enough. Words cannot provide justice
to how much UConn women’s hockey and UConn athletics has meant to me during my time at
school, but I can say I am fortunate enough to still be here today, tell my story and say thank you
for saving my life. UConn athletics advocates for mental health and preaches the notion of
“listen louder.” I hope my career and experience at UConn serves as a reminder to the Board of
Trustees and University Athletics that sports can save lives, and so I urge you to practice what
you preach, maintain your credibility, align your words with your actions, and listen louder.
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Christian Provenzano, Men’s Tennis ‘22
My name is Christian Provenzano and I am a rising junior majoring in Business Management
and a member of the Men’s Tennis Team at UConn. I am writing this letter to express my
concern regarding smaller programs being potentially cut due to the consequences of COVID-19.
When I was a senior at Montclair High School in New Jersey, I knew that the University of
Connecticut was the school where I saw myself having the most positive future and college
experience as a student-athlete. After going through an uncountable number of hours of physical
therapy, training, match-play and academics and fighting through back stress fractures, multiple
wrist surgeries, knee and elbow problems, I finally was able to call myself a UConn
student-athlete on Memorial Day Weekend of 2018. Being a student-athlete at the University of
Connecticut is a title that I take pride in every day both on and off the court. In the two years that
I have been a part of the student-athlete family I have made more friends and memories that I
would have ever expected. Programs such as SAAC and Husky LEADS have introduced me into
a whole other world of student-athlete community responsibility that I have loved every moment
of. Volunteering around campus, having lunch/dinner with local middle school and elementary
school students, participating in fundraising and learning how to implement leadership qualities
into each student-athletes’ respective athletic teams are all important memories and values that
being a member SAAC and Husky LEADS have shown me. Memories such as traveling with my
teammates, going to morning lifts/conditioning, daily practices and the Fall and Spring Husky 5k
Obstacle Course are all so important to myself, and all the other student-athletes at UConn. My
teammates are my best friends at the school. The people that I spend the most time with. They
push me to improve as well as myself desiring them to improve. And if you were to ask any
student-athlete at this University, they would say the same.
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Finn Boynton, Men’s Golf ‘21
Growing up in Connecticut has made it my goal to represent my state university in my sport.
Having done so over the last 3 years has allowed me to develop my life skills in a way that I
would have never imagined prior to stepping on campus in August 2017. Playing golf under
Coach Pezzino at our University has given me the structure and resources which have allowed
me to excel academically and athletically. Taking away this program would take away the
opportunity for student-athletes who come after me to develop into the independent individuals
who have graduated from our athletic program thus far. I ask that you consider not only the
elimination of a sports program from the University, but the consequences this elimination has
on the development of young student-athletes' life skills.
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Alyssa Annenberg, Women’s Swimming and Diving ‘21
My name is Alyssa Annenberg and I am going to be a senior on the swimming and diving team.
When thinking back on my three years as a husky, the first thing that came to mind was, grateful.
I am so grateful that UConn has created a team that means so much to me and to all of my
teammates. The swimming and diving team is a family. We are more than just a sport. We are a
group of individuals who are working everyday to better ourselves. With this goal in mind, we
intend to better our team and set an example for our program for years to come.

Personally, being a student athlete on the swimming and diving team means becoming my best
self. Not just in the pool, but in the classroom, on campus, and in my community. I feel so
honored to represent UConn as a student athlete. Being on this team means that I am a part of
something greater than myself, I feel incredibly grateful that I can partake in creating a
community at UConn based on integrity, hard work, acceptance, dedication, and love. I do not
consider myself just an athlete, I forever will be a UConn athlete, because to me a husky is so
much more.
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William Mudlaff, Men’s Swimming and Diving ‘21

My name is William Mudlaff and I am a rising senior on the Men’s Swim and Dive team. From
the moment I stepped on campus for my official visit, I knew UConn was the school for me. The
opportunity to attend a top tier public research university populated with a diverse, engaged
student body, all while competing at the highest level of the sport I love was unmatched. UConn
holds a special place in my heart, and I am forever grateful for the support the University has
given me in the classroom and in the pool. In light of the difficult economic realities the
University is facing right now, I wanted to write in, along with other student athletes, and share
what being an athlete at UConn has meant to me and those around me.

From the moment I first stepped into a pool, I knew swimming was the sport for me. Being in the
pool, surrounded by other highly motivated student-athletes drives me to be my best every day.
Swimming has taught me countless lessons that I will carry with me for the rest of my life. Not
only ones that immediately come to mind like discipline and time management, but difficult
lessons that not everyone is fortunate enough to learn at such a young age, like how to overcome
failure and adversity. I didn’t learn these lessons alone. I would not be where I am today without
the support of all the teammates, coaches, and administrators that have believed in me along the
way. The support UConn has provided me over the last three years has been incredible, and I
would not be the man I am today without it. From dedicated, engaged coaches like Chris, Tim,
and Cayleigh, strength coaches like Mike and Dustin, advisors like Trisha and Victoria, sport
medicine staff like Katie, to administrators like Adrianne and David, the athletics department has
guided my development as a student-athlete and a leader in countless ways.

While I have developed many aspects of my character during my time as a student-athlete, I
would like to highlight how UConn has shaped me into an engaged leader in the UConn
community. I got my first real opportunity at leadership Sophomore year, when Chris nominated
me to be one of our teams two representatives on the Student Athlete Advisory Committee
(SAAC) and the point man for our annual charity swim through Swim Across America. This
allowed me to take on responsibility at an early stage of my college career, something not
everyone is fortunate enough to experience. Those early experiences set me up for success this
year as team captain and treasurer for SAAC. Through initiatives I put in place, SAAC was able
to triple our fundraising for our charity, Mental Health America, and I led the team through what
I believe to be our most successful season yet. I have also been fortunate enough to carry over
the lessons I learned from the pool to organizations outside of athletics. This past year, I was the
lead manager for my team on the UConn student-managed fund, an experiential learning
opportunity where students are able to manage a $1.2 million carveout of the UConn Foundation.
Despite being the only junior on a team of all seniors, I was able to guide the team’s strategy
through one of the most volatile periods in stock market history and outperform the broader
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market. Next year, I am looking forward to taking on even greater leadership roles as President
of the Finance Society and as one of two UConn representatives on the Big East SAAC.

My time as UConn has been instrumental in shaping who I am and who I want to be. Without the
support of the athletics department, I certainly would not be where I am today and I am very
thankful for that. I constantly strive to pay it forward and give back to the organizations that have
given me so much, not only in Athletics, but as a member of the broader UConn community as
well. As you make difficult financial decisions in the coming weeks, I urge you to think beyond
travel and scholarship costs and consider the second and third order benefits athletics has on the
UConn community as a whole. UConn student-athletes are a vibrant community of passionate,
dedicated leaders who bring so much more to the school than athletic events.

Thank you for taking the time to read my letter and Go Huskies!
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Vivienne Tucker, Women’s Field Hockey ‘21

My name is Vivienne Tucker. I am from the Netherlands, but moved to Auburn, New York at the
age of 16 to live with my grandmother and complete high school following some personal
struggles at home. The transition was a difficult one; adjusting to a new place, a new language,
and new friends in the middle of high school did not come easy. I had very little support,
financially and emotionally, and was struggling to succeed in an environment of negativity,
constantly being told that I would not accomplish my dream of overcoming these hardships to
become a collegiate athlete in the United States. Field hockey had always been a place of solace
for me, but the program in my new high school was struggling, and in stark contrast to what was
available in the Netherlands, the equipment, facilities and coaching made it difficult to advance
in the sport I love.

I felt like my life was stagnant, not sure where I was headed, and just not sure where to call
home. I looked at a few college programs as a senior, but continued to question the direction I
was going, hoping to rediscover the love I had for field hockey in the process, but just not feeling
things click into place. Procrastination set in, and I began to reconsider heading back to the
Netherlands, knowing that the situation was not ideal for me personally, but feeling like my
options were running thin.

Midway through my senior year, on a whim, I sent an email to Nancy Stevens, attempting to
explain my situation. I’m not sure why I sent the letter, but I now look back on that moment as
one of the best decisions I have ever made. Nancy responded, invited me for a visit, and from the
moment I stepped on the campus, I knew I had found my home. From the moment I committed
to UConn, I found my purpose. Motivated to better myself every day, academically and
athletically, I began to become a more confident, happy and successful person.

The day I stepped on campus as a UConn student athlete was one I will never forget. Gone was
the negativity that had followed me through life, I was now a part of a supportive, loving family.
I received support, not only from coaches and teammates, but also from the entire faculty and
staff at UConn. The UConn field hockey atmosphere was not just one of motivation and
commitment, but also one of kindness, support and love. This combination brought us a National
Championship title and an experience that will never be outdone. Something that every year we
want to feel that excitement again so we work hard. I am not here to tell you that being a student
athlete is easy. Being pre-med definitely resulted in sleepless nights and wondering “why am I
doing this to myself?” but then the next day I would be out there practicing again, having fun
with my teammates and realizing that it is all worth it. Especially winning games, and having all
the parents on the sideline yelling at and hugging you. I would say that the day you sign to be a
student-athlete you commit to something so much bigger. We all started as high school student
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athletes not knowing how much hard work would be involved, but because of that hard work we
have grown so much not just as a team, but also individually. Enduring these last several months
away from UConn and still not knowing if I will ever be able to play field hockey again with my
teammates brings tears to my eyes… There are so many more memories I want to make. I will
even miss the 2:00 am bus rides where we were all over tired, playing “country home” and
dancing and singing. I could write about so many memories of how amazing it is to have a
family around you that you can laugh with and will also pick you up when you are down. For
instance, when my mom had cancer, my entire team and coaches would check up on how she
was doing along with myself. Every UCONN athlete devotes so much time and creates so many
memories that I feel is indescribable to a person who has not been in our shoes. The future we
have after being a husky is something big; showing you were devoted to a sport as well as
academics is something that not a lot of people can do.

I have always been motivated to try to return all that UConn has given me in the form of hard
work, dedication and commitment to the school that I love.

UConn saved me. Without the opportunities it provided, I am honestly not sure where I would be
today. I will forever be thankful for that.
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Kiera Dalmass, Women’s Lacrosse ‘19

My name is Kiera Dalmass and I am a former student-athlete from the UConn Women’s
Lacrosse team. Originally from the small town of Moorestown, New Jersey, I came to UConn in
the fall of 2015 to continue my athletic and academic career. If you have never heard of
Moorestown, please allow me to explain the world I was coming from when I arrived at UConn.
Academically, Moorestown High School is in the top few hundred schools in the nation; when I
graduated, we were around #400. There were AP classes for just about every subject allowed.
Sports, specifically lacrosse, were on an entirely new tier of their own as well. Our girls’ lacrosse
team had been the best team in the state of New Jersey 2000-2009 and ranked as the number one
public school in the country for girls’ lacrosse all ten of those years. Throughout my career, we
were three times State Champions for the entire state, four times State Champions for our state
group, three times number one public school team in the country, and had been undefeated
through all four years up until the end of my senior year. To say the least, greatness was expected
in everything at Moorestown. I could not have known the greatness I would achieve over the
next four years at UConn.

If it weren’t for UConn Athletics and especially my team, I would not be where I am today, I
would not have been able to have the successes I have had, and I would not be who I am today.
Thanks to UConn Athletics and women’s lacrosse, I completed my undergraduate degree from
the Honors Program in three years. I completed a nearly 100-page thesis with the support of my
team, coaches, friends, and parents and studied our own baseball team for it. With the incredible
team of my own supporting me and with the backing of Coach Penders and his team, I wrote my
thesis that still receives dozens of monthly downloads. Thanks to UConn Athletics and women’s
lacrosse, I had the guidance, belief, and courage to apply to the Graduate School and pursue a
Master of Science in Statistics during my senior year of lacrosse. Thanks to the support and
patience of my team, I studied for hours upon hours, days upon days to prepare for and pass my
comprehensive exams for my degree. Thanks to UConn Athletics and women’s lacrosse, I was
nominated a team representative to the Student-Athlete Advisory Committee (SAAC) as a
freshman and remained in that position all four years. Thanks to UConn Athletics and women’s
lacrosse, I then over the next few years became Secretary of SAAC, then President of SAAC and
UConn’s student-athlete representative to the American Athletic Conference (AAC) SAAC, and
ultimately Chair of the AAC SAAC and representative of the AAC to the National Division I
SAAC. None of this would have been possible without the endless support and guidance of my
teammates, coaches, fellow student-athletes, athletic administrators, athletic advisors, and more.
All the times I had to sprint from practice to class and vice-versa; all the times I had to shower in
the locker room, put on a business professional outfit, and go to meetings or seminars or
presentations; when I had to be interviewed in the middle of the library to receive my
government security clearance; when I stood in front of my peers and friends to accept an award
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on perseverance and leadership throughout times of hardship; all the sideways looks when I
would be dripping sweat in class after practice and trying to wolf down some snacks before the
lecture began. Every minute, every second, was worth it.

Most of all, thanks to UConn Athletics and women’s lacrosse, I am the young woman I am today
and have the best friends that I could not have imagined having before my four years. I am
hard-working, successful, accomplished, courageous, proud, confident, strong-willed, and more,
thanks to UConn Athletics. I learned more on how to put purpose behind my work ethic, how to
use my platform to speak up for others who could not do the same, when to listen and when to
speak out, how to lead and how to follow, what the characteristics are of a strong leader, what it
means to be a good person and a friend to all those around. It is cliché, it is typical, it is
stereotypical, but all of it is true. The time I spent in UConn Athletics and on women’s lacrosse
changed my life in a million ways and all for the better. It is that simple. UConn Athletics
provides a wealth of opportunities for its student-athletes. I am extremely grateful and fortunate
to have been a student-athlete at UConn, whose name and legendary prestige carry their own.

The memories of playing for UConn, and the ties that come from it, are everlasting. If you are
considering cutting any sports from UConn, please consider what I have said and take it to heart.
Please consider all of the student-athletes whose lives you would be affecting, upheaving,
overturning. My stories are not just my own; they are shared by countless others before me and
countless more to come. Just the other day, I, by possibly the most random occurrence given the
world we are currently living in, met a former Men’s Soccer player. I was out walking my puppy
around the neighborhood of my family’s vacation home; he was out walking his dog and saw my
shirt – one of my old UConn shooting shirts from warming up before games. He, probably about
my parents’ age, saw my shirt, stopped me, and we started to talk. John and I had never met
before because he doesn’t live here; he was visiting his brother- and sister-in-law. What are the
chances of that! John had played under Coach Morrone during his time at UConn and still plays
today, even with some of his former teammates. We reveled in our memories of UConn and all
the wonderful things we had each loved about our times in Athletics. Once a Husky, always a
Husky. It reigned true before, it reigns true now, and it will continue to reign true with your
continued support.

Thank you for your time.

Very Respectfully,
Kiera Dalmass
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Abiola Olaniyan, Men’s Football ‘21

My name is Abiola Olaniyan, I am a rising senior, a member of the football team and I was born
and raised in Bowie, Maryland. I am a first generation American and the son of two parents that
have consistently worked 60+ hour work weeks since they arrived in the U.S. Through this hard
work they were able to send three children, including me, to private schools for their entire
academic careers. My brother and I were able to receive full-ride scholarships to the universities
of our choice, and I chose UConn. Upon starting my junior year of high school, I had zero
scholarship offers and this remained the case until the beginning of the summer going into senior
year. Throughout my junior year, I was faced with the growing realization that if I could not earn
a scholarship, I may not be able to go to college. My parents were already aiding my sister by
helping her pay for her student loans and I did not want to add any more to their already full
plates. I did not have the grades to go to the university of my dreams solely off academic
prowess, so I took the initiative and decided that I would send an email to every Division 1 FBS
coach in the country, and I would make sure someone noticed me. This was a very stressful and
uncertain time in my life and of the over 1,000 emails I sent to coaches, the UConn football staff
was one of the few that replied to me and took a chance. At the beginning of the summer I
attended the UConn football camp where I was blessed to earn a scholarship, and I committed on
the spot. I wanted to repay the trust that was put in me by the staff, trust that took a chance on a
young man with zero scholarships, trust that I hadn’t felt from any of the other programs
interested in me. That trust was not repaid by accepting the scholarship, but by the actions I have
taken as a representative of the UConn football team in my years since enrolling. I’ve achieved
over a 3.0 (minimum for the Athletic Director’s Honor Roll) in every semester except for two,
earned two internships in my industry of choice, Finance, and have had the opportunity to play
on the field on game day. These are all opportunities afforded to me by being a scholarship
athlete at the University of Connecticut, opportunities that I never thought possible because there
were times that I was certain I would not go to college. I was also able to give back to the
community surrounding UConn through the events put on by the Student Athlete Advisory
Committee.

I felt compelled to share my story because of the events that will be transpiring at the University
over the coming months. I was saddened to hear that due to the Covid-19 crisis, the University is
considering cutting athletic teams and I assume that it is a sensitive topic and one that is not
taken lightly. I have had the opportunity to meet life-long friends throughout my time at UConn,
most of them athletes from a variety of sports teams. I empathize with their journey to arrive at
UConn and would be hurt to see any of them go. I know firsthand the pain and work ethic it
takes to earn a scholarship and the sacrifices that were made to reach the pinnacle of most
athlete’s careers. I know that certain decisions may have to be made, and I simply ask that any
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consideration of cutting a sports team be thought through completely before cutting someone’s
journey short. Thank you for your time.
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Vasiliky Rizos, Women’s Soccer ‘21

Dear University Athletics and Board of Trustees,

My name is Vasiliky Rizos and I am a rising senior on the UConn Women’s Soccer Team. I am
not a 90-minute player, or in the starting 11, or even on an athletic scholarship. With that being
said, the proudest accomplishment in my life so far has been earning and keeping my spot on the
roster of the UConn Women’s Soccer Team. I write to you today to express what the UConn
Women’s Soccer means to me and why it is an essential program for not only myself, but to my
teammates, to the University, and to all the young women aspiring to achieve greatness.

I was born and raised in a small farm-town in Massachusetts. I went to a fairly small public high
school and graduated with 117 students in my class. One thing you learn about being from a
small town is, it’s hard to leave. I knew from a young age that I didn’t want to get stuck in that
small town.

When it came time to start thinking about college, I felt lost. I felt like I was in the middle of the
ocean with land in every direction but no clue which way to go. I am a first-generation college
student, which left me uncertain about where to even start. What I did know was that my dad
came to America when he was 18 years old with nothing but a duffle bag, $32, and a dream. I
began to see my venture into college very similarly to my dad’s venture to America. That’s when
I started to dream big.

UConn has been my dream school since day one. I wasn’t the smartest in my classes or the best
player on the field, but I knew that I could out work anyone. That’s how I earned my spot here. I
didn’t know that once I got to UConn so many doors would open up for me. I’ve been a member
of the Student Athlete Advisory Committee (SAAC) for nearly three years now and was just
recently elected SAAC Vice President. Additionally, I was selected to represent UConn at the
Academic Consortium for the American Athletic Conference. I’ve also had the great pleasure of
meeting former student athletes through the National C Club who have helped guide me in
seeking my career goals. Most importantly, at UConn I’m surrounded every day by people who
want to help and see me excel.

I understand that our world has turned upside down in these past few months. I’d do anything to
be out on the field with my fellow Huskies right now, training and getting ready for our debut in
the Big East this fall. This team, staff included, is composed of women who push each other to
be better on and off the field every day. When you work in an environment like this one,
greatness is destined to be found, on both the individual and team level. The UConn women’s
soccer team produces great players and great people.
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I am one member of this team, but I can whole-heartedly say that every woman on this team
loves the game, loves the team that we are, and loves the university that we represent. Mia
Hamm, one of the greatest soccer players in the world, once said, “Somewhere behind the athlete
you’ve become and the hours of practice and the coaches who have pushed you is a little girl
who fell in love with the game and never looked back…Play for her”. Every girl dreams big, my
big dream was to play soccer for the University of Connecticut. I know I wasn’t the first to have
this dream, and I sincerely hope that I won’t be the last.

Thank you for your time.
Very truly yours,
Vasiliky Rizos
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Ben Grosse, Men’s Track and Field ‘21

Without doubt we are living in unprecedented times. The COVID-19 pandemic and the recent
protests over George Floyd’s death and police brutality have combined to form arguably one of
the most challenging, confusing and frightening time periods in all of history. This undoubtedly
has repercussions at every level of government, business and education, and no organization,
business or university has not felt the adverse financial and social consequences of these events.
Changes will have to be made, both systematically and financially as a result of the pandemic,
and athletes and students alike understand this. However, financial sacrifices and cutting
programs are not mutually exclusive. The UCONN Athletics community has a bond and impact
that is deeper than a balance sheet or budget. There are wide reaching, intangible benefits that
university athletes and programs knowingly and unknowingly bestow upon the university as a
whole. Long term benefits outweigh short term profits. It is a proven, long standing financial
principle, and while it may upset shareholders in the short term, the long term opportunities
overwhelmingly outweigh the short lived blowback. Everyone is a part of separate teams, but we
are a part of something bigger. The athletics department knows the connectedness and bonds of
the UCONN Athletics community to a point, but they are not attune to every single relationship,
bond and friendship that exist within the athlete community. The Board of Trustees and other
stakeholders within the process do not understand, at a core level, the tight knit community that
exists between the UCONN Athletics community. The most important ramification of this is the
fact that these bonds mean we are open to sacrificing opportunities, benefits and perks to ensure
that other members of the UCONN athletic community are not shut out. At the end of the day
there is a right and wrong, and cutting programs may not be the wrong answer. We as athletes
cannot tell you, definitively, what the best option is, nor do we have the final say. But we can tell
you that the wrong answer is the answer that doesn’t involve the voices and opinions of the
athletes that gave their blood, sweat and tears to the university. Refusing the athletes the chance
to represent their teams, share their feelings and voice their opinions is without a doubt the
wrong way to approach the situation and the antithesis of many of the community engagement
principles and values that the department has preached. Let the people whose lives you are
affecting have a say.

Microcosms exist inside of larger communities. To see this look no further than any collegiate
athletic department. Each team is a smaller ecosystem within the UCONN Athletic Department.
If you take away one or several of those teams, the entire community weakens and suffers. Need
an example? It has been clear that athletes across all teams at UCONN have been some of the
most powerful, influential and impactful voices during the COVID epidemic and the last week of
social and cultural unrest. Make no mistake, by cutting teams and programs you will severely
diminish the ability that the student athlete community has to promote positive social and
cultural messages throughout UCONN and in our home communities. Diminishing the voice of
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student athletes at this time would do irreparable damage to the UCONN Athletic community
and the entire UCONN ecosystem, and simply in times like these our voice must be amplified.

Powerful Minds has been the mental health campaign run by the AAC and UCONN for the past
year, and SAAC and the rest of the athletic department has done an excellent job to champion
both that and the mental health of their athletes. Cutting programs in a time like this, without the
input from athletes or the consideration of their mental health and wellbeing, would be a blatant
disregard to the work both student athletes and the athletic department have done over the past
year. We are not disputing the significant financial challenges that the department is facing, yet
there are bigger things at work. Simply put, refusing to solely look at the financial side of this
equation will put the health and well being of the athletic community at UCONN and the greater
UCONN community.

Sincerely,

Ben Grosse
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Eric van der Els, Men’s Cross Country and Track and Field ‘21

When deciding which university I would attend for athletics, I was keen on joining a program
that had a complete combination of mental and physical discipline, a winner's culture, and, most
importantly, an eccentric team spirit. The UCONN athletics program personified all of these
unique characteristics for me, thus making the decision for which college I would attend very
easy.

As a part of the XC/Track program and also a Captain, my team and I have benefited greatly
from what the athletics program has to offer. During my time at UCONN, we've earned a
top-eight position in the NCAA Northeast Region, with three of our runners earning the
prestigious All-Region Honors title. I am also proud to say that the team has been crowned
multiple times as New England champions, IC4A champions, and, further, individual champions
in the indoor and outdoor AAC Conference. In other words, we've done extremely well in terms
of winning and we've continually proven ourselves to be unyielding contenders on the track.

With all of this in mind, it would be difficult for me to see the training, mentorship, life-lessons,
and team spirit that allows us to win, be stripped away from my fellow classmates. Let myself
and my teammates keep winning because if we can win in sports, we are better prepared to win
in life.

Sincerely,

Eric van der Els
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Maggie Mlynek, Women’s Rowing ‘20

The impact that UConn Athletics has had on my life is something I cannot truly express in
writing. Everything I am today, I owe to my coaches, administration and teammates who have
invested in me. UConn Athletics offered me the right opportunities and people in my life that I
needed to not only develop as an athlete, but also as a person. I believe that the profound
influence that the Athletics Department has had on my life can be seen in the growth I’ve had
since my freshman year. During my first year, I was not on the Rowing team and struggled to
find both a community and a source of passion at UConn. I often kept to myself and did not seek
out opportunities to pursue goals which seemed so far out of my reach. When I joined the team, I
was surrounded by teammates and coaches who truly believed in me, wanted to see me succeed
and helped me find the tools to do so. They taught me what it means to work hard regardless of
how I was feeling, to put the success of the team before my own and to hold myself accountable
for everything I do. Not only were my teammates and coaches a source of motivation to get
faster on the water, but they chose to invest these values in me each and every day. When I look
back at how I’ve grown since my first year, I am so grateful for all that rowing and the UConn
Athletic Department have given me, I am honored to be a part of the legacy of UConn Athletics,
and I cannot wait to pass on these values, experiences and community to the next generation of
UConn student-athletes.




       Maggie Mlynek
       UConn Rowing, Class of 2020
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Isabelle Peterson, Women’s Volleyball ‘21
I am writing this letter in regards to the recent rumors and articles circulating about the
department cutting different sports teams on campus. I urge you to not do this and to try and
find the money to make up the budget cuts elsewhere in the department. I understand that the
department is in a financially difficult situation, as is the rest of the university as a whole. This
pandemic has brought unprecedented hardships on billions of people worldwide, and everyone
is trying to figure out how to deal with this “new normal”.

The UConn Athletics Department means so much to so many student-athletes, along with their
friends and families. For many, playing sports has provided them the opportunity to attend a
university outside of the state they regularly live in, meet lifelong friends, and achieve childhood
dreams. Aside from these positive experiences the university provides, athletics does so much
for those in and associated with this department in terms of preparing us for the future.
Speaking to friends who play sports at other colleges and universities, I know that our Athletic
Department goes above and beyond to try and prepare all of its student-athletes for life after
sports. This preparation, along with the many other resources provided to us on a day-to-day
basis, truly put us in the best place possible to succeed.

Because the Athletics Department does so much to positively impact the athletes who are proud
to represent the name “UConn”, cutting sports would devastate many individuals and could
potentially leave them aimless and unable to finish their degrees in the projected time period.
Along with this drawback that could upheave student-athletes’ futures, the sports that could
potentially be getting cut contain hundreds of important members of the athlete community here
on campus. These people are our friends, confidantes, and comrades in arms. Especially with
the recent events regarding the Black Lives Matter movement, I feel like the athletics community
has come together even more than we previously had in order to support our fellow
student-athletes who are affected from this systemic racism everyday. I, along with others I have
spoken to regarding this matter, feel like the support throughout the student-athlete community
is strong. You all, as a department, have helped to build this unity, and it would be a shame to
see some of these relationships ripped apart, especially during this time when it is vitally
important to show that we all stand as a united front.

Again, I recognize the need to meet a budget cut, and I can’t ignore the pressing financial
concerns. However, I feel like cutting sports teams would frustrate and upset many in the
athletics community and could disrupt many people’s plans for the future through causing a lot
of doubt, uncertainty, and broken dreams.

Sincerely,
Isabelle Peterson
